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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

CHARLENE MARTIN,                          )
                                          )
                        Plaintiff,        )
                                          )                         CIVIL ACTION
v.                                        )
                                          )                         No. 19-2604-KHV
CITIBANK, N.A.,                           )
                                          )
                        Defendant.        )
__________________________________________)

                                            ORDER

       On November 19, 2019, plaintiff filed a Notice Of Settlement (Doc. #5) indicating that the

parties have resolved this matter.

       IT IS THEREFORE ORDERED that the Clerk administratively terminate this action

without prejudice to the rights of the parties to reopen the proceedings for good cause shown, for

the entry of any stipulation or order, or for any other purpose required to obtain a final

determination of the litigation. On or before January 3, 2020, the parties shall file a stipulation

of dismissal signed by the parties above who have appeared in the action, under Rule 41(a)(1) of

the Federal Rules of Civil Procedure. If no such stipulation is received within the specified time

and the parties have not moved to reopen the case for the purpose of obtaining a final

determination, this order shall constitute, for purposes of Rule 58 of the Federal Rules of Civil

Procedure, entry of final judgment and dismissal with prejudice of plaintiff's claims under

Rule 41(a)(2).
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IT IS SO ORDERED.

Dated this 21st day of November, 2019 at Kansas City, Kansas.

                                   s/ Kathryn H. Vratil
                                   KATHRYN H. VRATIL
                                   United States District Judge




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